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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                        FORT MYERS DIVISION


BRAD WARRINGTON,

       Plaintiff

v.
                                                        Case No. _______
ROCKY PATEL PREMIUM CIGARS, INC.;

and

RAKESH PATEL,

       Defendants


_______________________________________________________

 VERIFIED COMPLAINT, DERIVATIVE ACTION, AND DEMAND FOR

                                 JURY TRIAL

Plaintiff Brad Warrington, by and through his undersigned attorneys, submits

this Verified Complaint and Demand for Jury Trial and alleges as follows:



                               INTRODUCTION

       1. Plaintiff Brad Warrington ("Warrington") brings this action against

Defendants Rocky Patel Premium Cigars, Inc. ("Patel Cigars") and Rakesh Patel

("Rocky") for wrongful conduct associated with the corporation. The causes of

action in this complaint arise under Florida, California, and Delaware common

law.

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      2. Defendant Rocky Patel has regularly and repeatedly engaged in conduct

designed to oppress Warrington as a minority shareholder of Patel Cigars,

including withholding corporate information and distributing preferential

dividends. He has intentionally and repeatedly withheld key financial

information from Warrington, interfering with his ability to value and sell his

shares as well as obscuring or misrepresenting the true value of the corporation.

      3. Defendants Patel Cigars and Rocky Patel refused to accept Warrington's

written notice for the sale of his shares and refused to facilitate the sale in breach

of the 1998 Buy-Sell Agreement. Rocky Patel made untrue statements of material

fact regarding the value of the company in order to induce Warrington to sell his

shares at a loss.

      4. As president and controlling shareholder, Defendant Rocky Patel has

repeatedly engaged in conduct that prioritized his personal wealth over the

interests of the corporation, including self-dealing and misuse of company assets.

He has failed to uphold his fiduciary duties to the corporation resulting in

mismanagement, waste, and damage to Patel Cigars.



                         JURISDICTION AND VENUE

      5. This court has original jurisdiction over this proceeding because there is

complete diversity between each plaintiff and each defendant and the matter in

controversy exceeds $75,000. 28 U.S.C. § 1332.




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      6. Defendant Patel Cigars is a Delaware incorporated corporation with its

principal place of business located in Collier County, Florida. Corporations are

deemed to be citizens of every state incorporated, as well as the state where its

principal place of business resides. 28 U.S.C. § 1332(c).

      7. Defendant Rocky Patel is the president and majority shareholder of Patel

Cigars and is a citizen of Florida.

      8. Plaintiff Brad Warrington is a citizen of Montana.

      9. Venue is proper in the Middle District of Florida because venue is proper

in any district where any Defendant resides. 28 U.S.C. § 1391(b).



                                      PARTIES

      10. Plaintiff Brad Warrington is a minority shareholder in Patel Cigars.

      11. Defendant Rocky Patel is the president and majority shareholder of

Patel Cigars.

      12. Defendant Patel Cigars is a Delaware incorporated corporation with its

principal place of business in Florida.



                           FACTUAL BACKGROUND

      13. In 1996 Brad Warrington partnered with his neighbor and close friend

Rocky Patel in support of Patel's vision to start a cigar company. The corporation

was originally formed in North Carolina as Indian Tabac-Company, Inc.

Warrington invested startup capital, assisted in drafting a business plan to


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acquire more investment, and participated in company startup activities. He was

appointed secretary of Indian Tabac-Company, Inc.

      14. In 1998 Warrington entered into a Buy-Sell Agreement (the

"Agreement") with seven other individuals and Indian Tabac-Company, Inc.

The Agreement requires written notice before a shareholder can sell their shares

and mandates regular valuations of the company every two years. (See Exhibit 1).

      15. In 2004 Indian Tabac-Company, Inc. received authorization to do

business in Florida and a few years later changed its name to Rocky Patel

Premium Cigars, Inc.

      16. Warrington currently owns the most shares in Patel Cigars besides

Rocky Patel. He is a minority shareholder and owns 6.05% of shares (7,010 total

shares).

      17. Rocky owns approximately 93% of shares and is the controlling

shareholder and president of Patel Cigars. In 2008 Rocky gifted 500 shares each

to his brother and cousin, Nishit Patel and Nimish Desai, who are both

employees of Patel Cigars.

      18. Since he became involved with the company, Warrington has not

received any audited financial statements. He received a single dividend in 2010.

Rocky told Warrington that dividends were not being paid because all retained

earnings were being used to grow the business, including the acquisition of

tobacco inventory, tobacco farms, and cigar production companies in Central




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America. It was Warrington's understanding that these assets were owned by

Patel Cigars itself.

      19. Patel Cigars has grown to become one of the world's leading premium

cigar brands and Rocky is one of the most prominent figures in the global cigar

industry.

                        Warrington's Proposed Sale

      20. In 2015 Warrington began verbal discussions with Patel Cigars about

selling or transferring his shares. Rocky made a verbal offer for Warrington's

shares which was significantly lower than the valuations Rocky gave during

discussions with potential investors.

      21. Around this time Warrington and Rocky were making arrangements to

develop the Patel Cigars brand in mainland China and bring in new investors.

Warrington independently financed costs to acquire import licenses, hire

employees, and purchase inventory from Patel Cigars to build the brand in Asia.

Rocky expressed a valuation of the company at $150 million.

      22. Despite Warrington's extensive and loyal history with the company and

its continued growth, Rocky refused to make a good faith offer for the purchase of

Warrington's shares. He verbally offered Warrington less than $1 million for the

sale of his shares. Warrington later obtained an independent valuation of his

accrued shareholder interest at $13 million.

      23. In June 2021, Warrington sent a letter to Patel Cigars indicating his

desire to sell his shares in accordance with the Buy-Sell Agreement. (See Exhibit


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2). The purchase price was to be $7.5 million for 7,010 shares. The letter advised

that Patel Cigars had 30 days from receipt to exercise its purchase option. Patel

Cigars' attorney responded on June 21 that the letter had been received.

      24. After sending the June letter, Warrington did not receive any response

from Patel Cigars indicating an interest in purchasing his shares. He sent several

more letters in August, September, October, and November requesting shares, a

share certificate, and a virtual data room so that the proposed buyer could

conduct due diligence. (See Exhibits 3-5). These letters went unanswered.

      25. As a result of Patel Cigars' failure to provide the necessary information

for due diligence, Warrington was forced to enter into an agreement to sell only a

portion of his shares at a discounted price. Warrington noted this sale

modification in his September letter to Patel Cigars when he again requested a

virtual data room for due diligence. (See Exhibit 4).

      26. Patel Cigars and Rocky refused to provide the requested information,

shares, or a share certificate, unfairly interfering with the sale of Warrington's

shares.

                   Warrington's Demand for Documents

      27. In 2019 Warrington provided a written demand for Patel Cigars'

financial documents pursuant to his rights as a shareholder. This demand was

reaffirmed in 2020 and again in 2021. (See Exhibits 6-8).

      28. Patel Cigars and Rocky refused to provide Warrington with information

about the company, including audited financial records and the required bi-


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annual third party company valuations. This rendered Warrington uncertain

about the financial security and management of the company as well as the value

of his shares.

      29. Patel Cigars and Rocky intentionally obscured or misrepresented the

value of the company and Warrington's shares. Their refusal to provide all of the

requested corporate documents has prevented shareholders from investigating

any potential wrongdoing or mismanagement within the company.

Wrongdoing, Mismanagement, and Minority Shareholder Oppression

      30. Rocky receives exorbitant compensation and distributions from Patel

Cigars, using his position as president and holder of more than 90% of its shares

to negotiate preferential payments and dividends.

      31. Rocky has repeatedly received interest-free loans from the company

which he has used to further personal interests and fund numerous business

ventures. In 2005 Patel Cigars secured a $1.95 million loan which was then

loaned to Rocky so that he could purchase additional shares in the company. In

2010 Patel Cigars declared a dividend of $2.9 million. Warrington received

$40,000 and the remaining balance was retained by Patel Cigars to pay off the

2006 loan.

      32. Patel Cigars pays Rocky an excessive salary in addition to bonuses and

royalties relating to the trademark of his name. Rocky is paid a regular salary of

$1.8 million plus yearly bonuses of $2 million. In 2019 Patel Cigars paid Rocky

Patel over $2 million in royalty payments for the trademark usage of his name.


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      33. Rocky has purchased several companies using interest-free loans from

Patel Cigars. These companies produce tobacco products which Patel Cigars then

purchases. In 2019 Patel Cigars purchased over $3.5 million worth of tobacco

products from Rocky Patel-owned businesses.

      34. As the controlling shareholder and President of the company, Rocky

has engaged in a pattern of wrongdoing and minority shareholder oppression. He

has prevented Warrington from obtaining financial information about the

company and its management and has secured preferential payments for himself

at the expense of other shareholders.

      35. Rocky has used his position and power within the company to enrich

his personal wealth at the detriment of Patel Cigars, engaging in self-dealing,

misuse of company funds, and usurpation of corporate opportunities in breach of

his fiduciary duties. Rocky can be held liable in an individual capacity for his

tortious actions, wrongdoings, and depletion of corporate property for personal

benefit.

                              CLAIMS FOR RELIEF

                          Count I - Breach of Contract

      36. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through

35 of the Complaint as if fully set forth herein.

      37. Warrington, Rocky, and Patel Cigars are parties to the 1998 Buy-Sell

Agreement requiring written notice for a transfer or sale of shares, and a

valuation of the company every two years. Written notice is required so that the


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corporation can exercise its option to purchase within 30 days of receipt.

Pursuant to Section 6.07 of the Agreement, it must be governed by and construed

in accordance with California law. (See Exhibit 1).

          A. Sections 2.01 and 2.02 - Sale or Transfer of Common Stock

      38. Section 2.01 requires a stockholder who desires to sell all or part of

their shares to first provide written notice to the corporation. The written notice

must specify the number of shares to be sold, the name of the proposed

transferee, and the amount and terms of the consideration to be received. Section

2.02 provides that the corporation has 30 days after receipt of the 2.01 notice to

exercise its option to purchase the shares itself.

      39. Section 2.04 provides that if the corporation does not exercise its

option to purchase, the selling stockholder shall be entitled to sell or transfer to

the proposed transferee specified in Section 2.01.

      40. Warrington provided written notice to Patel Cigars of his desire to sell

his shares in accordance with Section 2.01. Patel Cigars indicated receipt of the

written notice two days later, but did not express a desire to purchase the shares

within the 30 day period. After Warrington began to move forward with the sale,

Patel Cigars ignored requests to provide a virtual data room for due diligence and

refused to provide the shares or share certificate to the proposed buyer.

      41. Despite Warrington's adherence to the Agreement's requirements, Patel

Cigars refused to acknowledge and provide support for the sale. Patel Cigars




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unnecessarily and intentionally delayed the sale of Warrington's shares in the

already uncertain financial sphere that has resulted from the global pandemic.

      42. Patel Cigars and Rocky unfairly prevented Warrington from

transferring his shares as provided in the Agreement, and therefore are in breach

of the Agreement.

                    B. Section 4.02 - Value of the Corporation

      43. Section 4.02 states that the value of the corporation shall be

determined every two years pursuant to independent appraisals conducted by the

seller and buyer of shares.

      44. During the period of time from 1996 to the present, no regular

valuations or appraisals of the company were provided to Warrington. During

this time Rocky engaged in multiple transfers of his shares.

      45. Patel Cigars and Rocky failed to provide regular valuations of the

corporation in accordance with Section 4.02 and therefore are in breach of the

Agreement. This failure to provide regular valuations of the corporation rendered

Warrington uncertain about both the financial prospects of the corporation and

the true value of his shares.

                     C. Additional Breaches of the Agreement

      46. Rocky has continually breached the Agreement while demanding

complete performance from Warrington. He has gifted shares to his family and to

his trust without undergoing the valuation or appraisal process required by




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Section 4.02. He provided written notice for these share transfers but failed to

include the terms and consideration as required by Section 2.01.

      47. The multiple breaches described above have damaged Warrington.



   Count II - Breach of the Covenant of Good Faith and Fair Dealing

      48. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through

35 of the Complaint as if fully set forth herein.

      49. Patel Cigars and Rocky are both parties to the 1998 Agreement and as

such, have a duty to exercise subjective good faith and an objective level of

reasonableness in their contractual dealings.

      50. Warrington performed his obligations under the Agreement by

providing written notice for the sale of his shares and 30 days for Patel Cigars to

exercise its option to purchase said shares. Under the terms of the Agreement,

Warrington was free to sell or transfer his shares after providing the requisite

notice and 30-day waiting period.

      51. Patel Cigars and Rocky unfairly frustrated Warrington's ability to freely

sell his shares after he properly performed his duties under the Agreement. Their

conduct was objectively unreasonable in refusing to provide Warrington with the

necessary information and shares to complete his sale.

      52. These actions delayed and prevented the sale of Warrington's shares in

violation of the covenant of good faith and fair dealing. As a result of this breach,

Warrington was damaged.


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      Count III - Tortious Interference with Contract or Business

                                   Relationship

      53. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through

35 of the Complaint as if fully set forth herein.

      54. In June, August, and September of 2021, Warrington wrote to Patel

Cigars regarding the proposed sale of his shares. The June letter noted that the

proposed purchase price of Warrington's 7,010 shares was $7.5 million. (See

Exhibit 2).

      55. Patel Cigars failed to establish a virtual data room for due diligence

despite multiple requests, forcing Warrington to alter the sale agreement,

discounting the price and the amount of shares to be sold. (See Exhibit 4).

      56. On October 15, 2021, Warrington entered into a contract with

Whitefish Bay SPV for the sale of 500 shares of his stock.

      57. On October 15, Warrington provided Patel Cigars with the executed

Stock Purchase Agreement. (See Exhibit 5). On November 1, Warrington wrote to

Patel Cigars and requested shares and a share certificate on behalf of the

purchaser.

      58. Patel Cigars had written notice of an existing business relationship both

before and after Warrington entered into the contract for the sale of his shares.

      59. Patel Cigars and Rocky intentionally acted to delay or prevent the sale

of Warrington's shares without justification. Patel Cigars failed to respond to

Warrington's requests for a virtual data room so that the purchaser could conduct


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due diligence, forcing the alteration of the sale agreement, and refused to provide

Warrington with the shares or share certificate, preventing Warrington from

performing his portion of the sale contract.

      60. The contract between Warrington and Whitefish Bay SPV was

disrupted by the defendant's intentional conduct and would have been completed

if not for the defendant's interference. Their intentional and unjustified

evasiveness and refusal to provide Warrington with necessary information and

share certificates rendered him incapable of carrying on his business

relationship. This interference damaged Warrington, forcing him to discount the

sale price, and later rendering him unable to fulfill his existing contractual

obligations.



             Count IV - Breach of Fiduciary Duty - Direct Action

      61. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through

35 of the Complaint as if fully set forth herein.

      62. As president and the majority shareholder, Rocky Patel has a duty to

Patel Cigars and its shareholders to act in good faith and in the corporation's best

interests.

      63. Rocky breached his duties of loyalty and care by engaging in numerous

actions equating to minority shareholder oppression.




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      64. As a result of Rocky's actions, Warrington was directly and individually

damaged. He was uniquely injured due to his position as minority shareholder

and holder of the most shares besides Rocky.

      65. As a result of Rocky's actions, Warrington was unable to obtain

accurate financial records of the company, was unable to investigate the value of

his shares, and was subject to dividend starvation and preferential distributions

which went to the majority shareholder alone.

              A. Dividend Starvation and Preferential Distribution

      66. Warrington did not receive any dividends from Patel Cigars from the

time of his initial investment in 1996 until 2010.

      67. Patel Cigars pays Rocky an excessive salary, including bonuses and

royalties relating to the trademark of his name, and provides interest-free loans

for his personal business ventures.

      68. Rocky has utilized his controlling position in Patel Cigars to gain a

significant personal pecuniary advantage. The payment of excessive salaries,

bonuses, and royalties, along with the provision of personal loans, constitutes an

unequal and preferential distribution of the company's funds in breach of his

fiduciary duties.

      69. The preferential distribution of corporate assets to the majority

shareholder alone caused damage to Warrington as the minority shareholder.




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                     B. Withholding Corporate Information

      70. Warrington made several demands in 2019, 2020, and 2021 to inspect

Patel Cigars' records. As a minority shareholder, Warrington has a significant

interest in ensuring the financial stability and proper management of the

corporation. Warrington's demands were made for the purpose of investigating

wrongdoing, mismanagement, corporate waste, and financial discrepancies. He

was not provided with the requested documents despite three written demands.

      71. Rocky has a statutory and common law duty to disclose certain

information about the company. He breached this duty to disclose by refusing to

provide Warrington with certain corporate records, including audited financials,

despite multiple written demands.

      72. When Warrington requested valuation information to inform a future

sale of his shares, Rocky claimed the company's future and finances were

uncertain. However, Patel Cigars' reported profits, plus remuneration, royalties,

and loans to Rocky have exceeded $130 million since 2007.

      73. Rocky knowingly concealed the true value and finances of the

corporation. His actions were calculated to oppress Warrington as a minority

shareholder, to hide evidence of wrongdoing or mismanagement, to obscure the

true value of the company, and to prevent the sale of his shares. As a result,

Warrington was damaged.




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  Count V - Breach of Fiduciary Duty - Shareholder Derivative Action

      74. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through

35 of the Complaint as if fully set forth herein.

      75. Rocky Patel engaged in a pattern of conduct which prioritized his

personal interests over those Patel Cigars and its shareholders, violating his

fiduciary duties of care and loyalty.

      76. Warrington has been a contemporaneous holder of Patel Cigars' stock

since 1996 and this derivative action is not a collusive one to confer jurisdiction

this court would otherwise lack.

      77. Warrington did not make a demand to corporate authority prior to

filing suit. He made several inquiries with Patel Cigars in order to investigate

potential wrongdoing and mismanagement. These inquiries were ignored, and

Warrington believed in good faith that any demand to corporate authority would

be ignored as well. Because Rocky is the president and controlling shareholder,

Warrington believed a demand to the corporation to rectify his wrongdoing

would be futile.

      78. As president and majority shareholder, Rocky Patel engaged in a

pattern of tortious conduct and wrongdoing including self-dealing and

subterfuge. As a result, the corporate veil can be pierced and Rocky can be held

personally liable for his wrongdoing.




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         79. Rocky Patel breached his fiduciary duties to Patel Cigars, damaging the

corporation as a result.

                       A. Misuse of Company Funds and Assets

         80. Rocky has secured excessive compensation and preferential

distributions from Patel Cigars in breach of his fiduciary duties of care and good

faith.

         81. Patel Cigars pays Rocky an exorbitant amount, including salary,

bonuses, and royalties exceeding $5 million per year. Rocky has received multiple

interest-free loans from the company which he has used to further personal

interests and fund numerous business ventures.

                                    B. Self-Dealing

         82. Rocky has entered into several business transactions with Patel Cigars

where he derived personal benefits at the expense of the corporation. He has

purchased several companies using interest-free loans from Patel Cigars. These

companies produce tobacco products which Patel Cigars then purchases.

         83. In 2019 Patel Cigars purchased over $3.5 million worth of tobacco

products from Rocky Patel-owned businesses. The same year Rocky Patel-owned

businesses purchased more than $300,000 worth of tobacco products from Patel

Cigars.

         84. Rocky breached his duties of care and loyalty to Patel Cigars by

misusing company funds and assets and engaging in self-dealing.




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                    C. Usurpation of Corporate Opportunities

      85. Rocky has continually exploited opportunities that rightly belong to the

corporation. By utilizing loans from Patel Cigars, Rocky purchased various

tobacco companies which then provided products to Patel Cigars. Rocky

purchased these companies for personal benefit, despite using corporate funds.

      86. Patel Cigars was financially capable of purchasing tobacco companies

itself, which would fit into the corporation's present activities and established

policies.

      87. Rocky breached his fiduciary duty of loyalty by usurping corporate

opportunities that rightly belonged to Patel Cigars. As a result, Patel Cigars lost

out on valuable opportunities for growth and expansion.

     D. Failure to Act in Good Faith and in Best Interests of the Corporation

      88. Rocky has repeatedly engaged in bad faith conduct designed to benefit

him personally, instead of Patel Cigars. He has continually breached his fiduciary

duties to act in good faith and in the corporation's best interests by engaging in

self-dealing and other actions which prioritized his personal wealth over that of

the corporation. His actions have resulted in damage to the corporation in the

form of lost opportunities, misused funds, and bad faith mismanagement.



                          Count VI - Securities Fraud

      89. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through

35 of the Complaint as if fully set forth herein.


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      90. Warrington's shares in Patel Cigars are securities as defined by Florida

Statutes § 517.021(22).

      91. Patel Cigars and Rocky engaged in a course of conduct intended to

defraud or mislead Warrington as to the true value of his shares. They failed to

provide audited corporate financial records and accurate share valuations in

connection with their offers to purchase Warrington's shares. Rocky intentionally

made untrue statements of material fact regarding the value of the company and

Warrington's shares in order to induce him to sell his shares at a much lower

price than they are worth. These actions violated Florida securities law and

damaged Warrington.



                          Count VII - Punitive Damages

      92. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through

35 of the Complaint as if fully set forth herein.

      93. Rocky's actions amounted to the malicious and deliberate oppression of

a minority shareholder. He engaged in a pattern of conduct designed to prevent

Warrington from freely selling his shares, to obscure or misrepresent the true

financial condition of the corporation, and to deliver disguised dividends to

himself as the controlling shareholder. Punitive damages are appropriate to deter

further wrongdoing and shareholder oppression.




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                              REQUESTED RELIEF

WHEREFORE, Plaintiff requests the following relief:

   1. Awarding damages to compensate Warrington for the violations of his

      rights and privileges as a shareholder.

   2. Awarding punitive damages for the Defendant's deliberate and malicious

      conduct relating to minority shareholder oppression.

   3. Costs and attorney’s fees incurred in bringing this action.

   4. Any other relief that the court deems just and proper.



                          DEMAND FOR JURY TRIAL

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

requests a trial by jury of all issues properly triable by jury in this action.



Dated: February 4, 2022                               Respectfully Submitted,

                                                      /s/ Francis Caruso
                                                      Francis Caruso
                                                      Lead Counsel
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                                                      /s/ Taylor Allyn
                                                      Taylor Allyn


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                                                    C&A Advisory, LLC
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                                                    Attorneys for Plaintiff


                          CERTIFICATE OF SERVICE

Plaintiff certifies that on February 4, 2022, the foregoing was filed electronically

with the Clerk using the CM/ECF system and served on the Defendants through

their counsel Alex R. Figares, 4001 Tamiami Trail North, Suite 300, Naples FL

34103 (afigares@cyklawfirm.com).

                                                    /s/ Taylor Allyn______

                                                    Taylor Allyn
                                                    C&A Advisory, LLC
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August 23, 2021

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Bonita Springs, Florida 34135

Edmond E. Koester
Coleman Yanovich Koester
4001 Tamiani Trail North Suite 300
Naples, Florida 34103


Via email and certified mail


Re: Brad Warrington Sale of Shares.

Dear Mr. Patel,

As you are aware, we represent Brad Warrington who owns 7,010 shares of common stock in
Rocky Patel Premium Cigars, Inc. (“RPPC”).

On June 18, 2021 we notified you and received confirmation of receipt from Mr. Koester of our
client’s intention to sell his RPPC shares. In accordance with the Buy Sell Agreement of
September 1998 you have had enough time to consider a purchase of the shares by RPPC or other
interested parties. Given that we have not received a reply concerning our letter or RPPC’s desire
to purchase the shares we must move forward in completing the transaction.

In preparation of the transaction and upon our receipt of the down-payment of $759,000.00 USD
we request that RPPC open a virtual data room for due diligence. In the data room we expect the
documents that are listed in the enclosure to this letter “Information Request Virtual Data
Room”. Our client would like to complete the transaction in the 4th quarter of 2021 and your
cooperation in providing the information is appreciated.



                        100 Congress Avenue Suite 2000 Austin, Texas 78701
                                      www.ca-advisory.com
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Should you have any questions or would like to discuss this matter please contact me at
frank@ca-advisory.com or (512) 5662637.
Regards,




Frank Caruso
Attorney

Enclosure: Information Request Virtual Data Room

Cc: Ed Koester
Cc: Brad Warrington




                       100 Congress Avenue Suite 2000 Austin, Texas 78701
                                     www.ca-advisory.com
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                            Exhibit
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September 10, 2021

Mr. Rocky Patel
CEO
Rocky Patel Premium Cigars, Inc.
10960 Harmony Park Drive
Bonita Springs, Florida 34135

Edmond E. Koester
Coleman Yanovich Koester
4001 Tamiani Trail North Suite 300
Naples, Florida 34103


Via email and certified mail


Re: Brad Warrington Sale of Shares.

Dear Mr. Patel,

As you are aware, we represent Brad Warrington who owns 7,010 shares of common stock in
Rocky Patel Premium Cigars, Inc. (“RPPC”).

In accordance with the 1998 Buy-Sell Agreement on June 18, 2021 I emailed a letter to you,
your attorney Ed Koester and Ms. Stoeva at the CYK Law Firm (a copy is attached). Three days
later on June 21, 2021 Mr. Koester replied by email to me, copying yourself, Alex Figares and
Danielle Parliament that he had “Received.” my letter (a copy is attached). In complying with
the 1998 Buy Sell Agreement specifically Section 2. Sale or Transfer of Common Stock and
Section 2.01 Notice of Proposed Transfer, our letter satisfied the written notice requirement and
receipt was acknowledged by Mr. Koester. In addition the letter specified the number of shares
to be disposed of, the name of the proposed transferee and the amount and terms of the
consideration to be received for the shares which is required by Section 2.01. I’m not sure what
letter your attorney Mr. Figares was reading when he raised allegations in his letter dated
September 1, 2021, but, we are certain that we have complied with the 1998 Buy-Sell Agreement
and are confident of prevailing in arbitration and litigation.


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                                     www.ca-advisory.com
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In our letter of June 18, 2021 we were kind enough to remind you that RPPC had 30 days after
receipt of notice to exercise your option to purchase the shares under the Buy Sell Agreement,
specifically Section 2.02. As Mr. Koester acknowledged receipt on June 21, 2021 the period for
RPPC to exercise its’ option expired on July 21, 2021. We did not receive any email or other
correspondence from you or Mr. Koester during this period only a letter from Mr. Figares on
June 25, 2021 after the 30 day period expired and which did not address my letter of June 18,
2021. On August 23, 2021 more than 60 days after our notice of intention to sell shares, we sent
a letter requesting that RPPC establish a Data Room so that our potential purchaser can conduct
due diligence and my client can complete the transaction (a copy is attached). Given that we
have requested detailed information concerning the company from you for more than 5 years in
meetings, Section 220 requests and other correspondence; and you have and continue to ignore
our requests for information that should be provided to minority shareholders, your bad faith has
forced my client to proceed with a sale of his shares at a significant discount. As RPPC or the
other Shareholders have not exercised their option to purchase my clients’ shares he is entitled to
sell his shares as set forth in Section 2.04 of the 1998 Buy Sell Agreement.

We now again request that you establish the Data Room so that my client can complete his share
sale. Economic hardships due to Covid have forced my client to sell his shares at a discounted
price and the buyers have agreed to proceed with a purchase of a portion of the shares in good
faith that we will provide the necessary information for their due diligence.

Upon completion of the transaction we will provide you with copies of the Share Purchase
Agreement and information concerning the new Shareholders. We will expect RPPC to register
the share transfer in the Corporate Share Registry upon the new shareholders becoming
signatories to the 1998 Buy Sell Agreement as required in Section 2.04.

In advance we appreciate your cooperation in this matter. Should you have any questions or
would like to discuss this please contact me at frank@ca-advisory.com or (512) 5662637.
Regards,




Frank Caruso
Attorney

Cc: Ed Koester
Cc: Brad Warrington
Enclosures


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From : ekoester@cyklawfirm.com
To : "frank caruso"< frank@ca-advisory.com>
CC : rocky@rockypatel.com, RStoeva@cyklawfirm.com, afigares@cyklawfirm.com,
dparliament@cyklawfirm.com
Date : Mon, 21 Jun 2021 09:44:22 -0500
Subject : Re: Sale of Brad Warrington's shares in RPPC

Frank,

Received. My Team did not receive a response to the letter that Alex Figares sent you. I did not receive
the email you referenced. Please resend. We will discuss with Rocky and get back with you.

Ed



       On Jun 18, 2021, at 3:43 PM, frank caruso <frank@ca-advisory.com> wrote:

       Dear Ed, please find attached letter concerning my client's shares in RPPC.

       Regards
       Frank



       Frank Caruso
       Attorney and Managing Director
       C&A Advisory, LLC
       USA Mobile: +15125662637
       ca-advisory.com

       Mr. Caruso is a U.S. licensed attorney and advises clients on corporate and International legal issues. This E-
       mail is confidential and protected by the attorney-client relationship. It may also be legally privileged. If you
       are not the addressee you may not copy, forward, disclose or use any part of it. If you have received this
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       return E-mail. Internet communications cannot be guaranteed to be timely, secure, error or virus-free. The
       sender does not accept liability for any errors or omissions. As required by U.S. Treasury Regulations
       governing tax practitioners, any written tax advice contained herein cannot be used by any taxpayer for the
       purpose of avoiding certain tax penalties that may be imposed under the Internal Revenue Code.



       <Letter to Rocky Patel Sale of Shares 6-18-21.pdf>


Edmond E. Koester
Coleman, Yovanovich & Koester, P.A.
4001 Tamiami Trail North, Suite 300
Naples, Florida 34103
Phone: 239-435-3535
Fax: 239-435-1218
ekoester@cyklawﬁrm.com
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                            Exhibit
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                            Exhibit
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                            Exhibit
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                            Exhibit
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JS 44 (Rev. 04/21)                          Document
                                          CIVIL COVER1 Filed
                                                       SHEET 02/04/22 Page 65 of 67 PageID 65
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS
          Brad Warrington                                                                                     Rocky Patel Premium Cigars, Inc.; Rakesh Patel

    (b)   County of Residence of First Listed Plaintiff              Out of State                            County of Residence of First Listed Defendant              Collier
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                        THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)
          C&A Advisory, LLC 512-566-2637                                                                      Alex R. Figares 239-435-3535
          100 Congress Avenue Suite 2000 Austin, Texas 78701                                                  4001 Tamiami Trail N, Suite 300, Naples FL 34103
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                    3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State            1        ✖ 1      Incorporated or Principal Place         4     4
                                                                                                                                                         of Business In This State

    2   U.S. Government                ✖   4   Diversity                                            Citizen of Another State          ✖ 2          2   Incorporated and Principal Place           5         5
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                    Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                  TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                          310 Airplane                     365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                 Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                Liability                   367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                 Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment            Slander                         Personal Injury                                                820 Copyrights                    430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’               Product Liability                                              830 Patent                        450 Commerce
    152 Recovery of Defaulted                Liability                   368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
         Student Loans                  340 Marine                           Injury Product                                                     New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                   Liability                                                      840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment              Liability                  PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle                370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
✖   160 Stockholders’ Suits             355 Motor Vehicle                371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                      Product Liability            380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability      360 Other Personal                   Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                           Injury                       385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                        362 Personal Injury -                Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                            Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                     441 Voting                       463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                   443 Housing/                         Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability              Accommodations               530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                            Employment                   Other:                        462 Naturalization Application                                             Agency Decision
                                        446 Amer. w/Disabilities -       540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                            Other                        550 Civil Rights                  Actions                                                                State Statutes
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                       3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                              Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                (specify)                 Transfer                          Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 USC 1332
VI. CAUSE OF ACTION                        Brief description of cause:
                                           Breach of fiduciary duty/minority shareholder oppression; breach of contract; tortious interference with contract
VII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                               $30,000,000                                 JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE          Hugh D. Hayes                                         DOCKET NUMBER 11-2021-CA-001875-0001-XX
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
2/4/22                                                                    /s/ Taylor Allyn
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                           MAG. JUDGE
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                Middle DistrictDistrict
                                                 __________     of Florida, Ft Myers
                                                                        of __________

                       Brad Warrington                             )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                        Civil Action No.
                                                                   )
                  Rakesh Patel; and                                )
            Rocky Patel Premium Cigars, Inc.
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mr. Rakesh Patel
                                       CEO
                                       Rocky Patel Premium Cigars, Inc.
                                       10960 Harmony Park Dr.
                                       Bonita Springs, FL 34135




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Frank Caruso
                                       C&A Advisory, LLC
                                       100 Congress Ave, Suite 2000
                                       Austin, TX 78701



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
        Case 2:22-cv-00077-JES-MRM Document 1 Filed 02/04/22 Page 67 of 67 PageID 67

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                Middle DistrictDistrict
                                                 __________     of Florida, Ft Myers
                                                                        of __________

                       Brad Warrington                             )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                        Civil Action No.
                                                                   )
                  Rakesh Patel; and                                )
            Rocky Patel Premium Cigars, Inc.
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Rocky Patel Premium Cigars, Inc.
                                       FARMER & ASSOCIATES, PLLC
                                       999 VANDERBILT BEACH ROAD
                                       SUITE 501
                                       NAPLES, FL 34108



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Frank Caruso
                                       C&A Advisory, LLC
                                       100 Congress Ave, Suite 2000
                                       Austin, TX 78701



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
